Case 3:19-cv-00619-LRH-WGC Document 1-2 Filed 10/09/19 Page 1 of 1
CIVIL COVER SHEET

The JS 44 civil cover shect and the information contained herein ncither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

JS 44 (Rev. 06/17)

 

I. (a) PLAINTIFFS

Neighborhood Neuropathy Center of Reno LLC

(b) County of Residence of First Listed Plaintiff

Washoe County

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

Marc P. Cook, Cook & Kelesis, Ltd.
517 S. 9th Street, Las Vegas, Nevada 89101

Tel: 702-737-7702

DEFENDANTS
MedRisk, LLC

NOTE:

Attorneys (If Known)

 

County of Residence of First Listed Defendant

(IN U.S, PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

II. BASIS OF JURISDICTION (Piace an “x” in One Box Only)

 

(For Diversity Cases Only)

II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

 

 

 

 

 

 

 

 

 

 

 

 

 

1. US. Government 2&3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State a1 O 1 Incorporated or Principal Place o4 a4
of Business In This State
2 U.S. Government O 4 Diversity Citizen of Another State 0 2 © 2 Incorporated and Principal Place go5 o5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a go3 O 3 Foreign Nation go6 06
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
[ CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
© 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Scizure O) 422 Appeal 28 USC 158 O 375 False Claims Act
© 120 Marine 0 310 Airplane 1 365 Personal Injury - of Property 21 USC 881 |) 423 Withdrawal O 376 Qui Tam (31 USC
O 130 Miller Act © 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
OC 140 Negotiable Instrument Liability C1 367 Health Care/ 0 400 State Reapportionment
GC 150 Recovery of Overpayment | 1 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights © 430 Banks and Banking
C151 Medicare Act © 330 Federal Employers’ Product Liability O 830 Patent 0 450 Commerce
C1 152 Recovery of Defaulted Liability O) 368 Asbestos Personal C1 835 Patent - Abbreviated 0) 460 Deportation
Student Loans © 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) 0) 345 Marine Product Liability O 840 Trademark Corrupt Organizations
153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY O 480 Consumer Credit
of Veteran’s Benefits 1 350 Motor Vehicle © 370 Other Fraud Oj 710 Fair Labor Standards O 861 HIA (1395ff) OG 490 Cable/Sat TV
1 160 Stockholders’ Suits 1 355 Motor Vehicle O 371 Truth in Lending Act O 862 Black Lung (923) © 850 Sccuritics/Commaditics/
© 190 Other Contract Product Liability © 380 Other Personal © 720 Labor/Management O 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations 0 864 SSID Title XVI ( 890 Other Statutory Actions
© 196 Franchise Inju 0 385 Property Damage © 740 Railway Labor Act O 865 RSI (405(g)) © 891 Agricultural Acts
© 362 Personal Injury - Product Liability 0 751 Family and Medical © 893 Environmental Matters
Medical Malpractice Leave Act C1 895 Freedom of Information
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|0 790 Other Labor Litigation FEDERAL TAX SUITS Act
© 210 Land Condemnation O 440 Other Civil Rights Habeas Corpus: O 791 Employee Retirement O 870 Taxes (U.S. Plaintiff O 896 Arbitration
O 220 Foreclosure 0 441 Voting 463 Alien Detainee Income Security Act or Defendant) O 899 Administrative Procedure
O 230 Rent Lease & Ejectment 0 442 Employment 510 Motions to Vacate © 871 IRS—Third Party Act/Review or Appeal of
O 240 Torts to Land O) 443 Housing/ Sentence 26 USC 7609 Agency Decision
© 245 Tort Product Liability Accommodations 530 General © 950 Constitutionality of
© +290 All Other Real Property © 445 Amer. w/Disabilities - 535 Death Penalty IMMIGRATION State Statutes
Employment Other: O 462 Naturalization Application

 

© 446 Amer. w/Disabilitics -
Other
1 448 Education

 

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

9000 O00 O00

 

© 465 Other Immigration
Actions

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

m1

VI. CAUSE OF ACTION

VU. REQUESTED IN

Original
Proceeding

O12 Removed from
State Court

o 3

 

Remanded from
Appellate Court

o4

(4 CHECK IF THIS IS A CLASS ACTION

Reinstated or
Reopened

DEMAND $

O 5 Transferred from
Another District
(specify)

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

47 U.S.C. § 227, et seq.

Brief description of cause:

Violation of the Junk Fax Protection Act

0 6 Multidistri

Transfer

Litigation -

ct O 8 Multidistrict
Litigation -
Direct File

CHECK YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Yes ONo
VII. RELATED CASE(S)
IF ANY (Seemsiructionsy: GE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
10/09/2019 /s/ Marc P. Cook
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
